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 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
 7
 8                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
 9
10
       Arjun Vasan,                                     Case No.: 2:25−cv−00765−MEMF−JPR
11
                    Plaintiff,
12
                                                        SUPPLEMENTAL DECLARATION
             vs.
13
                                                        OF ARJUN VASAN IN SUPPORT OF
       Checkmate.com, Inc.,
14
                                                        OPPOSITION TO DEFENDANT’S
       (dba “Checkmate”),
15
                                                        MOTION TO DISMISS OR
                    Defendant.
16
                                                        TRANSFER VENUE
17
18
19    I, Arjun Vasan, submit this supplemental declaration to provide additional factual
20    support in connection with my previously submitted opposition to Defendant’s
21    Motion to Dismiss or Transfer Venue—filed via the Court’s Electronic Document
22    Submission System (EDSS) on April 9, 2025, and is pending docketing.
23      1.   On March 25, 2025, I received both a phone call and email from Stacey
24           Chiu of K&L Gates LLP, acting on behalf of Defendant Checkmate.com,
25           Inc. This outreach occurred just one day before Defendant’s response to my
26           Complaint was due (March 26, 2025, per ECF No. 10).
27      2.   I promptly responded to the email and took Ms. Chiu’s follow-up call in
28           good faith. However, during the call, Ms. Chiu did not substantively engage
                                                    1

                                  Supplemental Declaration of Arjun Vasan
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 1           on the merits of the motion. She stated that her client intended to file “some
 2           sort of motion” regardless of any input I provided.
 3      3.   I noted during the call that this approach was inconsistent with Local Rule
 4           7-3, and this Court’s standing order, which requires a meaningful conference
 5           of counsel at least seven days prior to filing a motion. Ms. Chiu
 6           acknowledged that the seven-day period had not been observed, but asserted
 7           that her client’s position was irreconcilable with mine.
 8      4.   On March 26, 2025, Ms. Chiu filed a Declaration in Support of Defendant’s
 9           Motion to Dismiss or Transfer Venue, in which she claims I “agreed” that a
10           meet and confer would be futile. This is inaccurate. I merely acknowledged
11           that if her client was unwilling to consider clear and material evidence that
12           contradicted its position, it was unlikely to change that position.
13      5.   The call lasted approximately seven minutes and did not resemble a good
14           faith attempt to meet and confer. Rather, it appeared to be a last-minute box-
15           checking exercise, undertaken merely to comply superficially with the rule.
16      6.   As a result of this procedural failure, I was forced to respond to a unexpected
17           motion without the benefit of a proper and timely meet and confer process as
18           envisioned by Local Rule 7-3 and this Court’s Standing Order. I believe this
19           has caused me real prejudice in preparing my opposition.
20
21    I declare under penalty of perjury that the foregoing is true and correct.
22
23                                                                   Respectfully Submitted,
24    Dated: Sunday, April 13, 2025
25
26
                                                                Arjun     Vasan
                                                            By: ________________________
27                                                                   Arjun Vasan
28                                                                   Plaintiff In Pro Per
                                                      2

                                    Supplemental Declaration of Arjun Vasan
